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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


 UNITED STATES OF AMERICA,                       )      Case No. 1:10 CR 150-12
                                                 )
                        Plaintiff,               )      JUDGE SOLOMON OLIVER
                                                 )
                v.                               )      MAGISTRATE JUDGE
                                                 )      JAMES S. GALLAS
 EDWARD CHESLOW,                                 )
                                                 )      REPORT AND RECOMMENDATION
                        Defendant.               )


       Pursuant to General Order 99-49, this matter having been referred to United States

Magistrate Judge James S. Gallas for purposes of receiving, on consent of the parties, the

defendant’s offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11,

causing a verbatim record of the proceedings to be prepared, referring the matter, if appropriate, for

presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation stating

whether the plea should be accepted and a finding of guilty entered, the following, along with the

transcript or other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s

Report and Recommendation concerning the plea of guilty proffered by the defendant.

       1.      On May 14, 2010, the defendant, Edward Cheslow, accompanied by counsel,

               proffered a plea of guilty.
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       2.      Prior to such proffer, the undersigned examined the defendant as to his competency,

               advised him of the charge and consequences of conviction, informed him that the

               Court will be required to give consideration to the Federal Sentencing Guidelines and

               of the possibility of a departure from the Guidelines, notified him of his rights,

               advised him that he was waiving all his rights except the right to counsel, and, if such

               were the case, his right to appeal, and otherwise provided him with the information

               prescribed in Fed. R. Crim. P. 11.

       3.      The parties and counsel informed the undersigned about the plea agreement between

               the parties, advised the undersigned that, aside from such agreement as described or

               submitted to the court, no other commitments or promises have been made by any

               party, and no other agreements, written or unwritten, have been made between the

               parties.

       4.      The undersigned questioned the defendant under oath about the knowing, intelligent,

               and voluntary nature of the plea of guilty and finds that the defendant’s plea was

               offered knowingly, intelligently, and voluntarily.

       5.      The parties provided the undersigned with sufficient information about the charged

               offenses and the defendant’s conduct to establish a factual basis for the plea.

       In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. The undersigned, therefore,




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recommends that the court approve the plea agreement between the parties, accept the defendant’s

plea of guilty, and enter a finding of guilty.



Date: May 18, 2010                                     /s/ James S. Gallas
                                                       James S. Gallas
                                                       United States Magistrate Judge


                                           OBJECTIONS

        Any objections to this Report and Recommendation must be filed with the Clerk of Courts
within ten (10) days of receipt of this notice. Failure to file objections within the specified time
waives the right to appeal the District Court’s order.1




       1
        See United States v. Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474
U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).

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